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 5   Attorney for Defendant
     RYAN SCOTT KERN
 6

 7

 8                           IN THE UNITED STATES DISTRICT COURT

 9                        FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,       )            No. 2:07-MJ-0049
                                     )
12                  Plaintiff,       )
                                     )            STIPULATION AND ORDER
13        v.                         )            CONTINUING PRELIMINARY HEARING
                                     )
14   RYAN SCOTT KERN, et al.,        )            Date:February 19, 2009
                                     )            Time:2:00 p.m.
15                  Defendants.      )            Judge: Hon. Dale A. Drozd
                                     )
16   _______________________________ )

17
          The parties (defendants Ryan Kern and Rahman Shadebadi and plaintiff,
18
     United    States   of   America)    hereby    stipulate   through   their   respective
19
     attorneys to continue the preliminary hearing scheduled for February 19 to
20
     April 17, 2009, at 2:00 p.m.
21
          Counsel for the United States has agreed to provide discovery to both
22
     defendants, who both have expressed interest in reaching a pre-indictment
23
     resolution of the pending charges.           Resolution of the case has been delayed
24
     for reasons described in previous stipulations, but the parties remain
25
     involved in negotiations.          The government has agreed to separate the two
26
     defendants for future proceedings because of the likelihood of further
27
     delay in Mr. Kern’s case that need not affect Mr. Shadebadi’s case.
28
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 1         The parties further agree that the above reasons constitute good cause

 2   to extend the time for preliminary hearing under Federal Rule of Criminal

 3   Procedure 5.1, and that time within which the indictment must be filed

 4   should be extended to April 17, 2009, pursuant to the Speedy Trial Act, 18

 5   U.S.C. § 3161(h)(8)(A) and (B)(iv), for the reasons stated above.

 6                                               Respectfully submitted,

 7                                               DANIEL BRODERICK
                                                 Federal Defender
 8

 9   Dated:    February 15, 2009         /s/ T. Zindel
                                              TIMOTHY ZINDEL
10                                            Assistant Federal Defender
                                              Attorney for RYAN SCOTT KERN
11

12   Dated:    February 15, 2009         /s/ T. Zindel for P. Kmeto
                                              PETER KMETO
13                                            Attorney at Law
                                              Attorney for RAHMAN SHADEBADI
14
                                                 LAWRENCE G. BROWN
15                                               Acting United States Attorney

16   Dated:    February 15, 2009         /s/ T. Zindel for W. Wong
                                              WILLIAM S. WONG
17                                            Assistant U.S. Attorney

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19                                        O R D E R
20         The preliminary hearing is continued to April 17, 2009, at 2:00
21   p.m., the Court finding good cause, and time is excluded as set forth
22   above and for the reasons set forth above.
23         IT IS SO ORDERED.
24   DATED: February 18, 2009.
25

26

27

28   Ddad1/orders.criminal/kern0049.stipord(5)



     Stip. & O. Continuing Prelim.            -2-
